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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   WESTERN DIVISION

James R. Edens,                                   )
                                                  )
               Plaintiff,                         )
                                                       Case No. 3:14-cv-50056
                                                  )
       v.                                         )
                                                       Hon. Judge Philip G. Reinhard
                                                  )
                                                       Magistrate Judge Iain D. Johnston
John O’Brien, et al.,                             )
                                                  )
               Defendants.                        )

UNOPPOSED MOTION BY APPOINTED COUNSEL TO WITHDRAW PURSUANT TO
    LOCAL RULE 83.38 AND FOR AN ORDER APPOINTING NEW COUNSEL

       NOW COMES counsel appointed by the Court, Emily Nicklin, P.C. of Kirkland & Ellis

LLP, and hereby moves this Honorable Court for leave to withdraw as appointed counsel

pursuant to Local Rule 83.38 and for an Order of the Court appointing new counsel. In support

of this Motion, appointed counsel states as follows:

       1.      The undersigned is a member of the Trial Bar for this Court and is, by that

admission, obligated to provide services in cases involving plaintiffs with financial need.

       2.      Mr. James R. Edens (N60262) filed the captioned action pro se on or about March

12, 2014.

       3.      The undersigned was appointed by the Court on August 8, 2013. See Dkt. No. 43.

       4.      The captioned litigation involves alleged violations of 42 U.S.C. § 1983 against

John Crisham, D.D.S., among others.

       5.      In the course of conducting my firm’s normal conflicts of interest review, I

learned of a conflict of interest that could affect my representation of Mr. Edens. Specifically,

one of the defendants in the action is John Crisham, D.D.S. I have been informed that Mr.

Crisham, D.D.S. is the first cousin of John Crisham, a partner in my law firm.
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       6.      This personal relationship can create a conflict of interest. See Model Rule of

Prof. Conduct 1.7(a)(2).

       7.      Local Rule 83.38(a)(1) allows relief from assignment when “some conflict of

interest precludes counsel from accepting the responsibilities of representing the party.”

       8.      If the Court grants this application for relief from the assignment, I would be

pleased to accept another representation assignment in lieu of this one.

       9.      Defendants do not oppose this Motion. In light of this apparent conflict, I have

not had any direct communications with Mr. Edens.

       NOW WHEREFORE, appointed counsel, the undersigned, respectfully moves this

Honorable Court for entry of an order allowing her withdrawal as appointed counsel for Mr.

Edens and seeking appointment of new counsel.

Dated: August 26, 2014                           Respectfully submitted,


                                                 /s/ Emily Nicklin, P.C.
                                                 Emily Nicklin, P.C.
                                                 Emily.Nicklin@kirkland.com
                                                 ARDC No. 2050560
                                                 KIRKLAND & ELLIS LLP
                                                 300 North LaSalle
                                                 Chicago, Illinois 60654
                                                 Telephone: (312) 862-2000
                                                 Facsimile: (312) 862-2200

                                                  Attorney for Plaintiff




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                               CERTIFICATE OF SERVICE

       I, Emily Nicklin , an attorney, certify that on this date, August 26, 2014, I caused the

attached UNOPPOSED MOTION BY APPOINTED COUNSEL TO WITHDRAW

PURSUANT TO LOCAL RULE 83.38 AND FOR AN ORDER APPOINTING NEW

COUNSEL to be served on all counsel of record, electronically, and Plaintiff James R. Edens

via U.S. Mail.




                                                   /s/ Emily Nicklin, P.C.
                                                   Emily Nicklin, P.C.
